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 6
 7                              UNITED STATES BANKRUPTCY COURT
 8                               CENTRAL DISTRICT OF CALIFORNIA
 9
      In re:                                      Case No. 2:16-BK-18600-RK
10
      JENS LARSEN,                                Assigned to:
11                                                The Honorable Robert Kwan
                                    Debtor.
12                                                CREDITOR JACQUELYNN G. PERSKE’S
                                                  NOTICE OF OBJECTION AND OBJECTION
13                                                TO EXEMPTIONS
14
15
16
17
18
               TO THE COURT, THE OFFICE OF THE UNITED STATES TRUSTEE, THE
19
     CHAPTER 7 TRUSTEE, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
20
               PLEASE TAKE NOTICE that Creditor Jacquelynn G. Perske (“Perske”) hereby objects to
21
     Schedule C to debtor Jens Larsen’s (“Debtor”) Chapter 7 Petition, and any exemptions claimed
22
     therein. Perske files this objection to preserve her rights to object in the event that the Debtor
23
     contends that he has asserted exemptions pursuant to his Schedule C, although he does not appear
24
     to claim any exemptions at this time.
25
               This objection is based on the records and files in this matter, including the Debtor’s
26
     Petition and Schedules, as amended. It is made on the following grounds:
27
               1.     No exempt property is listed and no exemption is actually claimed. Debtor simply
28

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                                        OBJECTION TO EXEMPTIONS
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 1 checked the box in Schedule C for state and federal exemptions, but listed no specific exemption or
 2 property. Federal Rule of Bankruptcy Procedure 4003(a) requires the debtor to identify the specific
 3 property subject to a claimed exemption, and the basis for that exemption. In re Clark, 266 B.R.
 4 163, 168 (9th Cir. BAP 2001) (quoting Hyman v. Plotnik (In re Hyman), 967 F.3d 1316, 1319 n.6
 5 (9th Cir. 1992), also citing Seror v. Kahan (In re Kahan), 28 F.3d 79, 82 (9th Cir. 1994). A non-
 6 specific exemption, which fails to identify the property at issue or the basis, “is without legal
 7 effect.” In re Andermahr, 30 B.R. 532, 533 (9th Cir. BAP 1983).
 8         2.      There is no exemption available for Debtor’s scheduled property. Debtor lists as his

 9 only assets five thoroughbred racehorses and three foals, owned by one or more limited liability
10 companies that he controls. Racehorses owned for investment or hobby purposes are not exempt
11 assets under either state or federal law. See Cal. Civ. Proc. Code § 703.140(b)(3) (allowing
12 exemption for household pets, “held primarily for the personal, family, or household use of the
13 debtor or a dependent.”); see also, e.g., In re Gallegos, 226 B.R. 111, 112 (Bankr. D. Idaho 1998)
14 (“Any attempt to abuse the exemption, such as claiming a thoroughbred race horse as a pet, is
15 bridled not only by the ‘personal use’ requirement of the statute, but also by the $500 per item
16 limitation.”) (emphasis added); In re Cass, 104 B.R. 382, 385 (N.D. Okla. 1989) (finding that
17 breeding studs owned by horse breeders were not within exemption for personal property).
18         3.      Even to the extent that the California exemption applied, it would only exempt

19 $600.00 in value per animal, or $4,800.00 total. See Cal. Civ. Proc. Code § 703.140(b)(3). Debtor
20 claims the horses are worth at least $215,000. Neither state nor federal law would allow this level
21 of exemption.
22         To the extent that the Debtor intends to assert an exemption based on Schedule C, Perske

23 objects to such exemption on the grounds that is is not properly asserted, and that no exemption is
24 applicable.
25 Dated: May 18, 2017                          Respectfully submitted,

26                                               /s/ Damion D. D. Robinson

27                                                Damion D. D. Robinson
                                                VAN VLECK ZALLER & ROBINSON LLP
28

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                                     OBJECTION TO EXEMPTIONS
